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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

IN RE BENICAR (OLMESARTAN)
PRODUCTS LIABILITY
LITIGATION

THIS DOCUMENT RELATES TO
ALL CASES

 

 

MDL No. 2606
Master Case No. 15-2606 (RBK/JS)

Hon. Robert B. Kugler, U.S.D.J.
Hon. Joel Schneider, U.S.M.J.

 

DEFENDANTS’ REPLY BRIEF IN RESPONSE TO PLAINTIFFS’
OPPOSITION AND IN FURTHER SUPPORT OF DEFENDANTS’
MOTION TO EXCLUDE THE TESTIMONY OF PLAINTIFFS’ EXPERT
STEPHEN LAGANA, M.D.

 

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INTRODUCTION

To determine whether testimony from Plaintiffs’ expert Dr. Stephen Lagana
is admissible, the Court must first assess the methodology underlying that
testimony. As demonstrated below, Dr. Lagana’s methodology is flawed to the
point that it is unreliable. Accordingly, for the reasons set forth below and in
Defendants’ motion, Dr. Lagana’s opinions should be excluded.

ARGUMENT

A. Dr. Lagana’s inability to define sprue-like enteropathy,

criteria for a diagnosis, and general causation are grounds
for excluding his general causation opinion.

A determination of whether expert testimony is admissible requires a
preliminary assessment of whether the methodology underlying the testimony is
scientifically valid. See Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S.
579, 592-93 (1993); see also Lithuanian Commerce Corp. Ltd. v. Sara Lee
Hosiery, 177 F.R.D. 245, 261 (D.N.J. 1997). None of the allegations that Plaintiffs
throw against Defendants’ recitation of Dr. Lagana’s testimony salvage the flaws
inherent in his methodology, which remains unreliable. Plaintiffs accuse
Defendants of falsely stating that Dr. Lagana opined that any gastrointestinal
problem that improves after olmesartan is discontinued falls within the diagnosis of

sprue-like enteropathy. (Pls.’ Br. at 5, Dkt. 1106). They argue that because Dr.

Lagana ruled out a hypothetical.case of abdominal pain as not being sprue-like
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enteropathy, Defendants’ statement is inaccurate. Not so.

In fact, Dr. Lagana testified that he considers a case of abdominal pain as
non-classical and is “not sure that [he] would put that particular label [of sprue-like
enteropathy] on it.” Dr. Lagana’s carefully phrased words do not automatically
lead to a “ruling out” of sprue-like enteropathy. Similarly, when he testified that
he would not find abdominal pain to be a “very plausible case of sprue-like
enteropathy,” his answer did not absolutely rule out sprue-like enteropathy as a
possible diagnosis. In fact, his reasoning was that there are “more definite and less
definite cases,” with abdominal pain being an example of a “less definite” case of
sprue-like enteropathy. Certification of Daniel B. Carroll in Support of Reply to
Motion to Exclude Dr. Stephen Lagana (“Carroll Cert.”), Exhibit C, Deposition of
Dr. Stephen Lagana (“Lagana Dep.”) at 77:4-19.

Plaintiffs also take issue with Defendants’ omission of four words from a
portion of a testimony cited by Defendants, where Dr. Lagana agreed that “there is
no cardinal finding which can establish the diagnosis of olmesartan-induced injury
based solely on histopathology.” Id. at 231:14-232:17 (emphasis added). Plaintiffs
attempt to explain that “based solely on histopathology” demonstrates that clinical
context “is an important part of differentiating in an individual patient.” Pls.’ Br.
at 3 (Dkt. 1106). But this reasoning stands in stark contrast to Dr. Lagana’s own

testimony, where he made it clear that he does not know what clinical findings a

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doctor needs to have before diagnosing a patient with sprue-like enteropathy.
Carroll Cert. Exhibit C, Lagana Dep. at 76:5-77:2. Instead, he opts to leave it to
the “judgment of the treating physician.” Jd. at 77:1-2.

When further pressed on identifying the clinical criteria required to diagnose
sprue-like enteropathy, Dr. Lagana testified that “there are varied clinical
presentations and varied pathologic presentations; and, therefore, it requires the
patient’s doctor to make a reasonable assessment based on the entire clinical
picture.” Jd. at 78:24-79:7.

In Black v. Food Lion, Inc., the Fifth Circuit addressed the question of
whether expert testimony regarding the causation of fibromyalgia by trauma was
sufficiently reliable to be admissible. 171 F.3d 308 (Sth Cir. 1999). After
reviewing the materials submitted in support of the expert testimony, the Fifth
Circuit determined that the testimony did not satisfy the Daubert factors for
reliability. See id. at 313. It concluded that “neither [plaintiff's expert] nor medical
science knows the exact process that results in fibromyalgia or the factors that
trigger the process. Absent these critical scientific predicates, for which there is no
proof in the record, no scientifically reliable conclusion on causation can be
drawn.” Jd. at 314. The court held that the admission of the expert testimony was
an abuse of discretion. /d. at 314-15. Likewise, Dr. Lagana’s inability to define

sprue-like enteropathy or to identify the clinical parameters that distinguish it from

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other conditions is fatal to his opinion and should be rejected.

Last, Plaintiffs’ argument regarding Dr. Lagana’s inability to define general
causation is nonsensical. They claim that Dr. Lagana’s opinion that olmesartan
causes sprue-like enteropathy in “some patients” is the definition of general
causation. That is not the correct definition. General causation requires evidence
to show “whether a substance is capable of causing a particular injury or condition
in the general population.” In re Human Tissue Prods. Liabl. Litig., 582 F. Supp.
2d 644, 649 n.l (D.N.J. 2008) (emphasis added); see also In re Zoloft
(Sertralinehydrochloride) Prods. Liab. Litig., 176 F. Supp. 3d 483, 491 (E.D. Pa.
2016). When asked whether he had concluded that olmesartan resulted in sprue-
like enteropathy in the general population, Dr. Lagana responded that he “wouldn’t
necessarily say in the general population.” Carroll Cert. Exhibit C, Lagana Dep. at
21:18-22. This unilateral modification to the widely-accepted definition of general
causation is improper and unacceptable, and should be rejected by the Court.

B. Dr. Lagana did not analyze the Bradford-Hill criteria to support
his opinion.

Further undermining Dr. Lagana’s methodology is his failure to conduct a
Bradford-Hill analysis in his report. Dr. Lagana’s report does not mention the
Bradford-Hill criteria, either by that title or by any other reference. Simply stated,
the criteria were not part of his analysis. Plaintiffs’ contention that Dr. Lagana’s

familiarity with the Bradford-Hill criteria should be sufficient to conclude that he

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used the criteria in his report does not fill the empty gap. An expert’s self-
proclaimed accuracy is insufficient to prove that his opinions are reliable and
useful to the jury. Black, 171 F.3d at 311, see also, Moore v. Ashland Chem. Co.,
151 F.3d 269, 276 (Sth Cir. 2009).

Plaintiffs are now trying to present an after-the-fact Bradford-Hill analysis to
justify Dr. Lagana’s conclusions. This should not be allowed. Caraker v. Sandoz
Pharm. Corp., 172 F. Supp. 2d 1046, 1049 n.5 (S.D. Ill. 2001) (excluding
causation expert whose Bradford-Hill analysis appeared to be an “afterthought”
designed to justify the expert’s conclusions).

A Bradford-Hill analysis is an essential element of an admissible causation
opinion. Reference Manual on Scientific Evidence (Fed. Jud. Ctr. 2d ed. 2000) at
374-79; Amorgianos v. Nat’l R.R. Passenger Corp., 137 F. Supp. 2d 147, 168
(E.D.N.Y. 2001), aff'd, 303 F.3d 256 (2d Cir. 2002). As Plaintiffs’ own expert Dr.
Susan Hutfless acknowledged in her report, the Bradford-Hill criteria is a
“commonly used and generally accepted methodology in epidemiology to assess
causality for non-infectious exposure-outcome relationships.” Certification of
Daniel A. Carroll, Esq. in Support of Defendants’ Motion to Exclude the
Testimony of Plaintiffs’ Expert Susan Hutfless, Ph.D. (“Hutfless Cert.”), Exhibit
A, Report of Dr. Susan Hutfless at 15.

If Plaintiffs were so confident that Dr. Lagana incorporated the Bradford-

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Hill criteria in his report, they would have at least been able to cite to sections of
his report that implicitly incorporated and considered the Bradford-Hill criteria -
even under a different name or no name at all. But they have not; nor can they.
Nowhere in his 24-page report does Dr. Lagana explicitly or implicitly consider
and analyze the Bradford-Hill criteria, whether under the title of “Bradford-Hill” or
as individual criteria.

Further, contrary to what Plaintiffs’ claim (Pls.’ Br. at 7, Dkt. 1106), Dr.
Lagana was not just asked if the Bradford-Hill criteria were “mentioned” in his
report. He was asked if they were “addressed” or “mentioned,” and his response
was “no”: “Q. Those criteria are not addressed, not mentioned, in your report;
correct? A. Not specifically, no.” Carroll Cert. Exhibit C, Lagana Dep. at 357:12-
16. He also admitted that he has never “specifically written a paper in which [he]
looked at each [Bradford-Hill] point and made a response.” Jd. at 357:2-4.

Combined, these statements establish Dr. Lagana’s failure to analyze and
incorporate the Bradford-Hill criteria into his report, and render his general
causation opinion unsound and ungrounded in any reliable scientific methodology.
See Gannon v. United States, S71 F. Supp. 2d 615, 640 (E.D. Pa. 2007) (rejecting
general causation testimony by expert who admitted that Bradford-Hill criteria
were not met), aff'd, 292 F. App’x 170 (3d Cir. 2008); Miller v. Pfizer, Inc., 196 F.

Supp. 2d 1062, 1078 (D. Kan. 2002) (excluding causation testimony of expert who

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misapplied Koch’s postulates, criteria comparable to the Bradford-Hill criteria),
aff'd, 356 F.3d 1326 (10th Cir. 2004); In re Breast Implant Litig., 11 F. Supp. 2d
1217, 1233 n.5 (D. Colo. 1998) (“Plaintiff's causation experts must still satisfy the
additional Bradford-Hill criteria to establish scientific cause and effect. Plaintiff's
experts have not addressed the Bradford-Hill criteria at all.”).

Plaintiffs’ reliance on Glynn v. Merck Sharpe & Dohme Corp., 2013 WL
1558690 (D.N.J. Apr. 10, 2013) is misplaced because the expert in that case had
explicitly relied on the Bradford-Hill criteria in his report. /d. at *6, Certification
of Daniel B. Carroll, Esq. in Support of Opposition to Plaintiffs’ Motion to
Exclude Dr. Keith Wilson (“Wilson Cert.”), Exhibit D. The Glynn court’s
comment regarding defendant being free to address the issues on cross-
examination directly related to defendant’s objections concerning an expert’s
reliance on studies that did not find causation. That is not the case here. Dr.
Lagana has testified that he neither addressed nor mentioned the Bradford-Hill
criteria in his report and does not know why he did not analyze them. Carroll Cert.
Exhibit C, Lagana Dep. 357:5-24.

C. Dr. Lagana’s failure to rule out other explanations for sprue-like
enteropathy is fatal to his causation opinion.

As established in Defendants’ opening brief, Dr. Lagana testified that
alternative explanations for enteropathy need not be ruled out. Plaintiffs attempt to

put Dr. Lagana’s testimony into context by discussing Table 3 of the Mayo Clinic

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article. That added context brings nothing new to Dr. Lagana’s statement. Dr.
Lagana’s testimony on what a clinician should do before diagnosing sprue-like
enteropathy is straightforward and speaks for itself. According to Dr. Lagana, it
would be reasonable if a physician did not rule out other explanations for
enteropathy before diagnosing sprue-like enteropathy associated with olmesartan.
Although Dr. Lagana tried to validate his viewpoint on this issue by stating that
there is a difference between what is “ideal” and what is “reasonable,” his
testimony was clear in which he found it reasonable for a physician to not rule out

other possible alternatives.

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CONCLUSION

For the foregoing reasons, Defendants respectfully submit that Dr. Lagana’s

general causation opinion should be excluded.

Dated: May 1, 2017

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Respectfully submitted,

s/ Susan M. Sharko

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